                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                   AT GREENEVILLE

UNITED STATES OF AMERICA,                           )
          Respondent,                               )
                                                    )
v.                                                  )       No. 2:13-CR-27(21)
                                                    )
                                                    )
JASON DUNCAN,                                       )
          Petitioner.                               )

                               MEMORANDUM AND ORDER

        This criminal case is before the Court on the defendant’s motion for a reduction of

sentence, [Docs. 649, 748]. Defendant requests a reduction in sentence pursuant 18 U.S.C. §

3582(c)(2) and USSG § 1B1.10 as amended by Amendments 782 and 788 to the United States

Sentencing Guidelines. The United States has responded and acknowledges the defendant is

eligible for a reduction in sentence, notes the defendant’s numerous disciplinary sanctions, but

defers to the Court’s discretion whether and to what extent to reduce defendant’s sentence, [Doc.

756].

        The defendant was convicted of conspiring to manufacture 50 grams or more of

methamphetamine, in violation of 21 U.S.C. §§ 846, 841(b)(1)(A). The defendant was held

accountable for an equivalent of 1,276.8 kilograms of marijuana, resulting in a base offense level

of 32. The defendant received a two-level reduction for the safety-valve provision and a three-

level reduction for acceptance of responsibility. His total offense level was 27. The defendant’s

criminal history category was I. At the time of his sentencing, the defendant’s advisory guideline

range was 70 to 87 months. The Court sentenced the defendant to a term of 78 months’

imprisonment.




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       “Federal courts are forbidden, as a general matter, to modify a term of imprisonment once

it has been imposed, but the rule of finality is subject to a few narrow exceptions.” Freeman v.

United States, 131 S. Ct. 2685, 2690 (2011) (internal citation and quotation marks omitted). Title

18 United States Code § 3582(c)(2), however, gives a district court authority to modify a term of

imprisonment that has been imposed on a defendant “who has been sentenced to a term of

imprisonment based on a sentencing range that has been subsequently lowered by the Sentencing

Commission,” 18 U.S.C. § 3582(c), through a retroactively applicable amendment such as

Amendment 782. Id.; USSG § 1B1.10. The Court may reduce the term, “after considering the

factors set forth in § 3553(a) to the extent they are applicable, if such a reduction is consistent

with applicable policy statements issued by the Sentencing Commission.”               18 U.S.C. §

3582(c)(2).    Section 1B1.10 identifies the guideline amendments that may be applied

retroactively, and sets out the factors for deciding a sentence reduction motion under § 3582(c).

The Supreme Court has made clear that § 3582 does not require a sentencing or resentencing

proceeding, but gives courts the power to reduce an otherwise final sentence under circumstances

established by the Sentencing Commission. Dillon v. United States, 560 U.S. 817 (2010); United

States v. Curry, 606 F.3d 323, 330 (6th Cir. 2010); USSG § 1B1.10, cmt. background (noting that

a reduction under § 1B1.10 is discretionary and “does not entitle a defendant to a reduced term of

imprisonment as a matter of right”).

       Section 3582(c)(2) establishes a two-step inquiry: First, the court must determine whether

the defendant is eligible for a sentence reduction. If he is, the court must then consider whether,

in its discretion, the authorized reduction is warranted in whole or in part under the circumstances.

Dillon, 130 S. Ct. at 2691-92; United States v. Greenwood, 521 Fed. App’x 544, 547 (6th Cir.

2013). In exercising its discretion, the court is required to consider public safety factors and is



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permitted to consider post-sentencing conduct in deciding whether a reduction in the defendant’s

term of imprisonment is warranted. USSG § 1B1.10, cmt. (n. 1(B)(ii)-(iii)). Thus, the district

court is required to consider both the § 3553(a) factors and “the nature and seriousness of the

danger to any person or the community that may be posed by a reduction in defendant’s term of

imprisonment.” Curry, 606 F.3d at 330 (quoting USSG § 1B1.10, cmt. n. 1(B)(ii)).

       Pursuant to Amendment 782, defendant’s drug quantity yields a base offense level of 30, a

total offense level of 25 after the appropriate adjustments. When combined with the defendant’s

criminal history category of I, the defendant’s amended guideline range is 57 to 71 months’

imprisonment. Because the amended guideline range is below the original guideline range, the

defendant is eligible for a sentence reduction. The defendant requests an amended sentence of 57

months, the bottom of the amended guideline range. The Court concludes that a reduction is

appropriate in this case but not to the extent sought by the defendant.

       An important factor in the Court’s determination is the defendant’s post-sentencing

conduct. The defendant’s Bureau of Prisons (“BOP”) disciplinary record indicates that the

defendant has been sanctioned on 6 separate occasions. One sanction was for the use of alcohol

and/or drugs. The defendant’s SENTRY report shows as follows:

   Incident       Offense                                   Sanction
   Date
   06/22/2016     Possession of Non-Hazardous Tool        07/21/2016: Disallow 13 days
                                                          of Good Credit Time; 30 days
                                                          of Disciplinary Segregation; 3
                                                          months loss of Commissary; 3
                                                          months loss of Email; 6
                                                          months loss of Visits
   According to the incident report, tobacco was found in the defendant’s pocket during a
   pat down search.

   03/02/2016     Use of Drugs/Alcohol                      05/10/2016: Disallow 19 days
                                                            of Good Credit Time; Loss of
                                                            25 days of Non-vested Good


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                                                      Credit Time; 30 days of
                                                      Disciplinary         Segregation,
                                                      suspended for 180 days; 3
                                                      month loss of Commissary; 3
                                                      month loss of phone; 1year
                                                      loss of Visits
  Mr. Duncan tested positive for Buprenorphine and admitted guilt to the incident.
  09/23/2015 1) Possessing Unauthorized Item          10/01/2015: Disallow 13 days
                2) Smoking in Unauthorized Area       of Good Credit Time; 3
                                                      months loss of Commissary; 6
                                                      months loss of Visits
  The inmate was found to be in possession of a “battery lighter” and he smelled like
  smoke. He admitted to smoking.
  04/14/2015 Possessing Unauthorized Item             04/29/2015:         30 days of
                                                      Disciplinary         Segregation,
                                                      suspended for 180 days;
                                                      Impound personal items for
                                                      180 days; 6 months loss of
                                                      Commissary
  The inmate admitted to possessing a tattoo needle, which was found hidden in his
  locker.
  03/25/2015 Possession of Non-Hazardous Tool         04/29/2015: 30 days of
                                                      Disciplinary         Segregation,
                                                      suspended for 180 days;
                                                      Impound personal items for
                                                      180 days; 6 months loss of
                                                      Commissary
  The inmate admitted to the possession of a cup he pulled from the trash, which
  contained chewing tobacco.
  02/13/2015 Possession of Non-Hazardous Tool         02/19/2015: loss of 60 days of
                                                      Phone Privileges;

  02/13/2015     Possession of Unauthorized Item           02/19/2015: loss of 60 days of
                                                           Commissary;
  The inmate stated he forgot the Fitbit was in his locker.
  11/13/2014 Being Absent from Assignment                  11/19/2014: loss of 60 days of
                                                           Commissary;
  The inmate was found guilty based upon inmate’s own admission and reporting
  officer’s statement.


The infractions are numerous. The infraction for the use of drugs is serious. Despite the number

and the one serious infraction, the other infractions are not as serious as many garnered by some

inmates.   The Court must also look to the defendant’s attempts to better himself while

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incarcerated as part of his post-sentencing conduct. The defendant has completed 229 hours of

educational courses and is a participant in the Residential Drug Abuse Program. Consideration of

the 18 U.S.C. § 3553(a) factors leads to the conclusion that a reduction is appropriate but not to

the extent requested by the defendant. The defendant’s criminal history is not significant, and he

has attempted to rehabilitate himself. However, due to the disciplinary infractions incurred and

the seriousness of the crime for which he is incarcerated, the sentence will be reduced to 64

months and not the 57 months he requested. The motion, [Docs. 649, 748], is GRANTED IN

PART.

        So ordered.

        ENTER:



                                                                    s/J. RONNIE GREER
                                                               UNITED STATES DISTRICT JUDGE




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